IN THE UNITED STATES DISTRICT COUR'I`
FOR THE MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION

 

GENESCO INC.,
Civil Action No. 3 : l 3-CV-0202
Plaintiff, Chief Judge William J. Haynes, Jr.
V- JURY DEMAND
VISA U.S.A. INC., VISA, INC.,
AND VISA INTERNATIONAL
SERVICE ASSOCIATION,
Defendants.

 

 

AFFIDAVIT OF ROGER SISSON, ESQ.

I, Roger Sisson, hereby declare:

l. I arn General Counsel for Genesco Inc.

2. I have personal knowledge of the facts presented in this declaration.

3. On April 13, 2011, I, as General Counsel on behalf of Genesco, retained
International Business Machines Corporation (“IBM”) to provide consulting and technical
services at the direction of Genesco’s in-house and outside counsel (“Genesco Counsel”) to
assist Genesco Counsel in rendering legal advice to Genesco in connection with Genesco’s legal
obligations with regard to PCI DSS compliance (the “Privileged Engagement”). The Privileged
Engagement, which involved a PCI DSS gap assessment based on version 2.0 of the Payment
Card Industry Data Security Stande (“PCI DSS”), was intended by the parties to be covered by

the attorney-client privilege.

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4. IBM was not retained pursuant to the Privileged Engagement to evaluate
Genesco’s PCI DSS compliance during the period of the intrusion discovered on November 30,
2010 (the “Intrusion”).

5 . IBM was not retained pursuant to the Privileged Engagement in connection with

the investigation of the Intrusion or to perform remediation on Genesco’s computer network in
response to the inquiry by Trustwave.

6.

Pursuant to the Privileged Engagement, IBM prepared a report entitled PCI Gap

Assessrnent, which the parties intended to be covered by the attorney-client privilege

SWORN AND SIGNED UNDER THE PAINS AND PENALTIES OF PERJURY THIS 19th
DAY of May, 2014

Roger Sisson, Esq.
Sworn before rne this 19th day of May, 2014:

Dated: May 19, 2014

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